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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                     DECISION AND ORDER
                                                                  07-CR-245S
MONAE DAVIS, et al.,

                            Defendant.


      1.     On July 30, 2008, the Honorable Hugh B. Scott, United States Magistrate

Judge, filed a Report and Recommendation recommending that various pretrial motions

to suppress be denied. (Docket No. 185.) Judge Scott filed an additional Report and

Recommendation on September 23, 2008, clarifying that his initial Report and

Recommendation applied to two additional defendants who had joined in the initial

motions. (Docket No. 197.)

      2.     Defendants John Lee, Kevin Glowacki, Jimi Lin Gourley, and Raheim Howell

filed timely Objections to Judge Scott’s Report and Recommendation in accordance with

28 U.S.C. § 636(b)(1)(C) and Local Rule 72.3(a)(3). (Docket Nos. 187, 189, 191, 199.)

The Government filed its response on October 22, 2008. (Docket No. 203.)

      3.     This   Court    has   thoroughly reviewed   Judge   Scott’s   Report and

Recommendations, Defendants’ Objections thereto, and the applicable law. Upon due

consideration, this Court finds no legal or factual error in Judge Scott’s Report and

Recommendations. Accordingly, Defendants’ Objections are denied and this Court will

accept Judge Scott’s Report and Recommendations in their entirety.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Scott’s Report and

Recommendations (Docket No. 185 and 197) in their entirety, including the authorities cited

and the reasons given therein.

      FURTHER, that Defendants’ Objections (Docket Nos. 187, 189, 191, 199) are

DENIED.

      FURTHER, that the pretrial motions to suppress evidence filed by Defendants

(Docket Nos. 131, 132, 134, 135, 139, 140, 142, 143, 144, 146, 147, 148, 151, 152, 154,

155, 156, 157, 169, 170, 171, 172, 173, 174, 179) are DENIED.

      SO ORDERED.

Dated: November 25, 2008
       Buffalo, New York

                                                       /s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                      United States District Judge




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